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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                       IN THE UNITED STATES DISTRICT COURT                            September 27, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

                                                §
ROCHELLE SIMS,                                  §
                                                §
                      Plaintiff,                §
v.                                              §    CIVIL ACTION NO. H-21-4225
                                                §
MEMORIAL HERMANN HEALTH                         §
SYSTEM AND G&G ORGANIZATION,                    §
LTD, D/B/A PFS GROUP,                           §

                      Defendants.

                               AMENDED SCHEDULING AND
                                DOCKET CONTROL ORDER

       The parties jointly filed to extend the deadlines in this case. (Docket Entry No. 56). The
schedule is amended as follows:


6.     November 21, 2022             SUMMARY JUDGMENT DEADLINE
                                     No motion may be filed after this date except for good
                                     cause.

6.     December 12, 2022             SUMMARY JUDGMENT RESPONSE
                                     The nonmoving party must respond to the motion for
                                     summary judgment by this date.

6.     December 23, 2022             SUMMARY JUDGMENT REPLY
                                     The movant must reply by this date.

6.     January 26, 2023              SUMMARY JUDGMENT HEARING
                                     The court will hold a hearing on the summary judgment
                                     motion at 3:30 p.m. by Zoom. A Zoom link will be sent to
                                     the parties.

7.     March 24, 2023                JOINT PRETRIAL ORDER AND MOTION IN
                                     LIMINE DEADLINE
                                     The Joint Pretrial Order will contain the pretrial disclosures
                                     required by Rule 26(a)(3) of the Federal Rules of Civil
                                     Procedure. Plaintiff is responsible for timely filing the
                                     complete Joint Pretrial Order. Failure to file a Joint Pretrial
                                     Order timely may lead to dismissal or other sanction in
                                     accordance with the applicable rules.
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8.     March 31, 2023                DOCKET CALL
                                     Docket Call will be held at 2:00 p.m. in Courtroom 11-B,
                                     United States Courthouse, 515 Rusk, Houston, Texas. No
                                     documents filed within 7 days of the Docket Call will be
                                     considered. Pending motions may be ruled on at docket
                                     call, and the case will be set for trial as close to the docket
                                     call as practicable.

       Any party wishing to make any discovery motions should arrange for a pre-motion
conference with the court before the preparation and submission of any motion papers. That
includes a motion to compel, to quash, or for protection.              Email Mrs. Eddins at
Lisa_Eddins@txs.uscourts.gov or fax her at 713-250-5213 to arrange for a pre-motion
conference. Notify your adversary of the date and time for the conference.

      The parties agree to submit attorney’s fees issues to the court by affidavit after liability
and damages are resolved.


       SIGNED on September 27, 2022, at Houston, Texas.


                                             ________________________________
                                                           Lee H. Rosenthal
                                                    Chief United States District Judge

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